             Case 20-11177-KBO        Doc 520     Filed 08/21/20    Page 1 of 22




                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE


In re
                                             Chapter 11
AKORN, INC., et al.,
                                             Case No. 20-11177 (KBO), et seq.
                                             Jointly Administered
             Debtors.


                    IRP CLAIMANTS’ OBJECTION TO
               CONFIRMATION OF JOINT CHAPTER 11 PLAN
               OF AKORN, INC. AND ITS DEBTOR AFFILIATES

        The Pharmacy and Hospital Plaintiffs, also know as the IRP Class Claimants

(the “IRP Claimants”),1 by their undersigned attorneys, hereby file this objection to

confirmation of the Joint Chapter 11 Plan (the “Plan”) proposed by Akorn Inc. and

its affiliated debtors in possession (the “Debtors”), and in support hereof states as

follows:

                                     INTRODUCTION

        1.    The IRP Claimants have no opposition to confirmation of a plan that

provides for the purposes of, and complies with, §§ 1123 and 1129 of the

Bankruptcy Code, but certain aspects of the Plan as proposed are improper. The

Plan’s treatment of general unsecured claims in this case looks straightforward at

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  The IRP Claimants consist of Reliable Pharmacy, Inc., Halliday’s & Koivisto’s Pharmacy,
Russell’s Mr. Discount Drugs, Inc., Falconer Pharmacy, Inc., Chet Johnson Drug, Inc., and
North Sunflower Medical Center, on behalf of themselves and as representatives of certain
classes pending class certification under Fed. R. Civ. P. 23. Class certification in the MDL (as
described below) has been pled but the class has not yet been certified.
            Case 20-11177-KBO     Doc 520      Filed 08/21/20   Page 2 of 22




first blush, but upon closer analysis its success hinges on a skewed voting process

consisting of gerrymandering, treating “nothing” as something, a violation of the

Absolute Priority Rule, and rushing to confirmation before the results of an asset

sale and a claims review may be realized.

      2.     Even if the Court were inclined to confirm a plan similar in structure

to the Plan, the IRP Claimants believes that certain revisions are necessary to the

release, exculpation, automatic stay, and injunction provisions, most notably:

             (i)    The Exculpation provisions may improperly apply to the claims

set forth in the Generics MDL (as described more fully below);

             (ii)   The Plan purports to keep the automatic stay intact without

incorporating the provisions for relief from stay under § 362(d) of the Bankruptcy

Code; and

      3.     Given the complexity of the scope of the third-party releases and the

ambiguities in some of the defined terms in the Plan, the IRP Claimants are entitled

to a provision in the proposed confirmation order expressly excluding them from

any third-party releases and related injunctive provisions.

      4.     Moreover, to the extent that the Plan’s ambiguous definition of

“Restructuring Transactions” can be interpreted to incorporate the Debtors’

proposed sale of substantially all their assets into the Plan, the IRP Claimants’

objections to the sale motion apply equally to confirmation of the Plan.



                                         -2-
            Case 20-11177-KBO       Doc 520      Filed 08/21/20   Page 3 of 22




       5.        As more fully described below, the IRP Claimants are among the

plaintiffs in very extensive multi-district litigation proceedings pending in the

Eastern District of Pennsylvania against the Debtors and approximately 40 other

defendants. While the Debtors should be permitted to confirm a plan to the extent

authorized under § 1129 of the Bankruptcy Code, confirmation of the Plan in this

instance should not be used as a tool to limit allowance of the claims asserted by

the Generics MDL plaintiffs (including but not limited to the IRP Claimants), limit

the plaintiffs’ rights to non-monetary relief, or limit their rights in any way against

third parties.

                     FACTS AND PROCEDURAL BACKGROUND

       6.        On May 20, 2020 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under Chapter 11 of the United States Bankruptcy

Code (the “Bankruptcy Code”). Since the Petition Date, the Debtors have managed

their affairs and remained in possession of their assets as debtors in possession

pursuant to 11 U.S.C. §§ 1107 and 1108.



I.     The Multi-District Litigation.

       A.        Overview.

       7.        Four of the Debtors in the above-captioned cases, Akorn Inc., Akorn

Sales, Inc., Hi-Tech Pharmacal Co, Inc., and VersaPharm, Inc. (collectively,



                                           -3-
              Case 20-11177-KBO   Doc 520      Filed 08/21/20   Page 4 of 22




“Akorn”), are presently co-defendants in the landmark multidistrict litigation

before the Honorable Cynthia M. Rufe in the Eastern District of Pennsylvania that

has exposed an industry-wide conspiracy to fix the prices of generic

pharmaceuticals.     In re Generic Pharmaceuticals Pricing Antitrust Litigation,

MDL No. 2724 (E.D. Penn) (the “Generics MDL” or “MDL”). The Generics

MDL was first centralized in the Eastern District of Pennsylvania in 2016. After

the denial of multiple motions to dismiss, the MDL is now in the middle of

document discovery, and is moving towards depositions and bellwether trials that

will resolve representative portions of the cases and pave the way for global

settlement.

       8.      The Debtors are central to the Generics MDL. They are named in 16

of the operative complaints filed to date, including complaints by class plaintiffs

and some of the largest health plans, including United Healthcare and Humana.

Akorn is alleged to have unlawfully conspired with respect to at least 34 of the

drugs at issue in the MDL, including several of the drugs at issue in the bellwether

trials. There are 35 document custodians whose files must be produced in the

MDL.        Absent ongoing Akorn’s meaningful participation in the MDL, the

plaintiffs risk severe prejudice not only to their cases against Akorn, but also to a

full and fair opportunity to prove their cases against Akorn’s co-conspirators.




                                         -4-
            Case 20-11177-KBO      Doc 520     Filed 08/21/20   Page 5 of 22




      9.     On August 5, 2016, the Judicial Panel on Multidistrict Litigation

issued an order consolidating cases for pretrial purposes in the Eastern District of

Pennsylvania. In re Generic Pharmaceuticals Pricing Antitrust Litigation, MDL

No. 2724, ECF No. 44 (Aug. 5, 2016).               The Generics MDL arises from

conspiracies among more than 40 manufacturers and distributors of generic

pharmaceuticals, including Akorn, to avoid manufacturers competing with each

other through market allocation and agreements to set and increase the prices of

more than 200 generic pharmaceutical drugs to extraordinary levels—a conspiracy

carried out through industry meetings and code words, such as “playing nice in the

sandbox.” The far-reaching effects of this massive conspiracy, which allegedly

began at least as early as 2009, have been devastating for consumers, insurers, and

all others who have paid inflated prices for these generic drugs.

      10.    Dozens of complaints have been filed by several plaintiff groups

against Defendants for violating Section 1 of the Sherman Act and numerous state

laws. These plaintiff groups include: (1) attorneys general for 54 states, territories,

and commonwealths (collectively “States”), (2) a proposed class of Direct

Purchaser Plaintiffs, which include drug purchasing cooperatives and retail

pharmacy operators (“DPPs”), (3) a proposed class of End-Payor Plaintiffs, which

include employee welfare benefit funds, labor unions, private insurers, and

consumers (“EPPs”); (4) a proposed class of the IRP Claimants; and (5) several



                                         -5-
            Case 20-11177-KBO     Doc 520      Filed 08/21/20   Page 6 of 22




Direct-Action Plaintiffs consisting of five large national health insurers (including

United Healthcare, Cigna Corp., and Humana, Inc.), retail grocery store and

pharmacy chains, and state counties from both New York and Texas.

      11.    Initial complaints alleging individual drug conspiracies for the generic

drugs digoxin and doxycycline were filed in 2016 by certain EPPs and DPPs.

Throughout 2016 and 2017, additional complaints alleging individual drug

conspiracies for 16 other generic drugs were filed and added to the MDL. In 2018,

the State AGs and other plaintiff groups began to file multi-drug complaints

alleging an overarching conspiracy adding more drugs and additional defendants

which has grown the MDL to its current size of more than 200 generic drugs

involving more than 35 manufacturers and their related entities, eight wholesalers

and distributors, and 25 individual executives.

      12.    The DOJ has also brought several actions against manufacturers and

top executives, many of which have led to guilty pleas and deferred prosecution

agreements. In addition to the Justice Department, the State of Connecticut

initiated its own non-public investigation into suspicious price increases for certain

generic pharmaceuticals in July 2014. That investigation led to an initial civil

complaint by Connecticut and certain other States for individual conspiracies for

two generic drugs. The States amended that complaint in June 2018 to include

overarching conspiracy allegations for 15 generic drugs (the “Heritage-Centric



                                         -6-
            Case 20-11177-KBO      Doc 520      Filed 08/21/20   Page 7 of 22




Complaint”). The States subsequently filed two additional overarching conspiracy

complaints in May 2019 (the “Teva-Centric Complaint”) and more recently in June

2020 (the “Topical Products Complaint”). The alleged conduct at the center of the

MDL has been described by the Connecticut assistant attorney general as “the

largest cartel in the history of the United States.”

      B.     Procedural Posture of the Generics MDL.

      13.    Despite the size and complexity of the Generics MDL and the four

years in which it has been litigated, including appellate proceedings before the

Third Circuit and U.S. Supreme Court, the litigation has been proceeding in a

coordinated and efficient manner.

      14.    Several motions to dismiss were filed in March 2017 and February

2019. Although some motions remain pending and a schedule for Defendants to

respond to subsequent complaints has yet to be established, the District Court has

issued certain key decisions that largely denied Defendants’ motions, including

motions brought by Akorn.

      15.    On October 16, 2018, the MDL Court held that the Sherman Act

claims for six individual drugs, including clobetasol—a drug for which Akorn is an

alleged conspirator—were plausibly pled for purposes of Rule 12(b)(6). ECF 721.

On February 15, 2019, the Court largely denied Akorn and its co-defendants’

motions to dismiss the EPPs and IRPs’ state law claims for the same six drugs.



                                          -7-
            Case 20-11177-KBO     Doc 520      Filed 08/21/20   Page 8 of 22




ECF 857. Most notably, on August 15, 2019, the Court denied the Defendants’

joint motion to dismiss Plaintiffs’ overarching conspiracy claims. ECF 1070. The

Court concluded that Plaintiffs’ claims therefore “impose joint and several liability

on Defendants not just for their participation in any individual drug conspiracy, but

also for their participation in the alleged overarching scheme.” In re Generic

Pharmaceuticals Pricing Litigation, 394 F. Supp. 3d 509, 515 (E.D. Pa. 2019).

      16.    Discovery commenced in February 2018.               A Special Discovery

Master, Special ESI Discovery Master, and General Discovery Master have been

appointed to facilitate disputes over discovery and case management issues.

      17.    On October 24, 2019, the Court issued a Case Management Order

(“CMO”) that established a schedule for the completion of discovery. ECF 1135,

as amended, ECF Nos. 1179, 1363. As amended, the CMO currently provides that

Defendants must substantially complete their custodial document productions by

November 16, 2020. As of July 9, 2020, Defendants collectively have produced

more than 12.4 million custodial documents, 5.2 million non-custodial documents,

and transactional-level sales data and cost information. The date for commencing

depositions, as well as dates concerning other case management milestones

including class certification and summary judgment, are currently being negotiated

by the parties with the assistance of the Special Masters.




                                         -8-
            Case 20-11177-KBO   Doc 520      Filed 08/21/20    Page 9 of 22




      18.    Following entry of the October 25, 2019 CMO, Defendants petitioned

the Third Circuit for a Writ of Mandamus and then the U.S. Supreme Court for a

Writ of Certiorari on the basis that a provision in the CMO violates Rule 26 by

requiring them to produce documents without a relevance review. Both the Third

Circuit and the U.S. Supreme Court denied Defendants’ petitions on January 6,

2020 (rehearing en banc), and June 15, 2020, respectively. The Third Circuit and

the U.S. Supreme Court also both denied Defendants’ requests for a stay of the

relevant CMO provision pending resolution of their petitions, which allowed

discovery to proceed as intended under the CMO.

      19.    The CMO also provides for the selection of “bellwether” claims or

case(s) for purposes of class certification, expert discovery, Daubert motions,

summary judgment, and trial(s). The bellwether selections are intended “to create

precedential rulings which would reduce or minimize the number of motions and

repetitive proceedings; and to provide information and experience to guide

possible settlement negotiations.”   ECF 1244 at 2.           Discovery, however, is

expected to proceed on all complaints. On July 13, 2020, the District Court

adopted the Report and Recommendation of Special Master David Marion, which

largely endorsed Plaintiffs’ proposed bellwether plan consisting of two parallel

tracks: (1) the States’ May 10, 2019 Teva-Centric Complaint alleging an

overarching conspiracy for over 100 drugs, and (2) three single drug complaints



                                       -9-
             Case 20-11177-KBO   Doc 520   Filed 08/21/20   Page 10 of 22




alleging conspiracies to unnaturally inflate the prices of clobetasol, clomipramine,

and pravastatin. ECF 1443. Akorn is named as a defendant in the clobetasol

complaint.

      C.      Effect of the Debtors’ Bankruptcy on the Generics MDL.

      20.     After the Petition Date, the Debtors stopped complying with the

discovery obligations ordered by the District Court. Akorn still owes the

production of remaining documents from its custodian files and other documents,

privilege logs for their custodial document productions, and complete transactional

sales data and cost information.    Furthermore, plaintiffs have yet to take the

depositions of key Akorn employees. The MDL plaintiffs have alleged a complex

conspiracy, and each player in the unlawful price-fixing scheme holds important

information. By ceasing its compliance with the District Court’s discovery orders,

Akorn is derailing the progress of the MDL.

      21.     On August 3, 2020 the IRP Claimants filed proof of claims on behalf

of themselves and the IRP Claimants’ class in each of Akorn’s cases, asserting

general unsecured claims on account of the claims asserted in the Generics MDL.

While this reserves the IRP Claimants’ rights to allowance and payment of their

claims under a confirmed plan or otherwise under the Bankruptcy Code, it

addresses neither claims against the non-debtor co-defendants in the Generics




                                       -10-
            Case 20-11177-KBO     Doc 520    Filed 08/21/20   Page 11 of 22




MDL nor the declaratory and injunctive relief in connection with the conduct

giving rise to the claims and prevention of future misconduct.



              GROUNDS FOR OBJECTION AND AUTHORITIES

A.    The Plan improperly treats general unsecured creditors.

      22.    Under the Plan, the holders of general unsecured claims not otherwise

classified are classified in Class 4 of the Plan, which is proposed to receive the

following treatment:

             In full and final satisfaction, compromise, settlement, and release of
             its Claim (unless the applicable Holder agrees to a less favorable
             treatment), each Holder of Allowed General Unsecured Claim that is
             not assumed by the Purchaser shall receive its Pro Rata share of the
             Distributable Proceeds, if any, pursuant to the Waterfall Recovery.

             For the avoidance of doubt, all General Unsecured Claims that are
             assumed by the Purchaser pursuant to the Sale Transaction
             Documentation shall be satisfied by the Purchaser in full in Cash
             following the Effective Date in the ordinary course of business;
             provided that any Allowed General Unsecured Claim that has been
             expressly assumed by the Purchaser under the Sale Transaction shall
             not be an obligation of the Debtors as of or after the Effective Date.

Plan Art. III(B)(5). This class is treated as impaired and entitled to vote on the

Plan. Id.

      23.    Class 4 is therefore comprised of two entirely separate categories of

claims: those entitled to full satisfaction from the Purchaser, and those that are not.

The former category is not impaired, and therefore not eligible to vote on the Plan.

See § 1126(f) of the Bankruptcy Code. The latter category is impaired and (for the

                                         -11-
            Case 20-11177-KBO     Doc 520   Filed 08/21/20   Page 12 of 22




reasons described below) should be deemed to reject the Plan without voting. See

§ 1126(g) of the Bankruptcy Code. Imposing the same treatment on the latter

category in reliance upon the votes from creditors in the former category is

impermissible gerrymandering.

      24.    It is not known at this time in which category the IRP Claimants’

claims would be classified because they have not received notice whether their

claims will be “Assumed Liabilities” under the Sale, the sale process being on the

same track as confirmation. It will be presumed (for purposes of this objection

only) that their claims will not be Assumed Liabilities.

      25.    Votes from Class 4 claimants should not be counted for two reasons.

First, votes from creditors whose claims will be fully satisfied should not be

counted towards the class vote because their claims are not impaired and it was not

possible to know what claims those were as of the voting deadline. Under §

1126(c) of the Bankruptcy Code, for a class to accept the plan, at least two thirds in

amount and more than one half in number of the allowed claims in that class must

vote to accept the plan. Creditors whose claims will be fully satisfied improperly

skew those formulae.

      26.    Second, although Class 4 claimants (other than Assumed Liabilities)

technically receive something more than “absolutely nothing,” the property they

are receiving—their “Pro Rata share of the Distributable Proceeds, if any, pursuant



                                        -12-
             Case 20-11177-KBO       Doc 520     Filed 08/21/20    Page 13 of 22




to the Waterfall Recovery”—is expected to be nothing. See Disclosure Statement,

pp. 7 (“0%”) and 12 (“The Debtors do not anticipate any distribution to Class 4,

Class 7, or Class 8 at this time.”). Therefore, there is no basis to treat Class 4 in

any way other than presumed rejection of the Plan under § 1126(g).2

       27.    This is important because it requires the Debtors to meet the standards

of cramdown for purposes of confirmation, rather than soliciting votes (presumably

from trade creditors whose claims will be satisfied in full pursuant to the asset sale

and will be satisfied outside the Plan) in the hopes of not having to meet the

standards for cramdown. In order for a plan to be confirmed, the plan proponents

are required to meet all the requirements of § 1129(a) of the Bankruptcy Code,

except that if not all classes accept the plan under subsection (8), the plan may still

be confirmed if it is “fair and equitable” and does not “discriminate unfairly” with

respect to the non-accepting classes (known as cramdown).

       28.    The Plan is not fair and equitable to and unfairly discriminates against

the IRP Claimants for several reasons. First, there are two classes of non-priority

unsecured claims, Class 4 (general unsecured claims) and Class 5 (inter-company

claims). Unlike Class 4, which receives a pro rata share of nothing, Class 5 claims

“will either be Reinstated, distributed, contributed, set off, settled, cancelled and
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  The Debtors must also show under § 1129(a)(10) that at least one impaired class has accepted
the Plan. For the same reasons that Class 4 should be deemed to reject the Plan, the votes of
other classes expected to receive nothing under the Plan (including but not limited to Class 7)
according to the Disclosure Statement should not be counted for purposes of accepting the Plan
under that subsection.

                                             -13-
              Case 20-11177-KBO        Doc 520     Filed 08/21/20      Page 14 of 22




released or otherwise addressed at the option of the Debtors, in consultation with

the Required Consenting Term Loan Lenders . . . .” The term “Reinstated” is

defined to mean that “the Claim or Interest shall be rendered unimpaired in

accordance with section 1124 of the Bankruptcy Code.” Art. I(A)(101). It is

extremely unclear what becomes of Class 5 claims under the Plan, but the most

natural reading is that the Plan gives discretion to the Debtors to give these claims

whatever treatment they want.3

        29.    Moreover, with respect to a class of unsecured claims not provided

with the full value on its claims, the term “fair and equitable” is defined under the

Bankruptcy Code to require that “the holder of any claim or interest that is junior

to the claims of such class will not receive or retain under the plan on account of

such junior claim or interest any property . . . .” § 1129(b)(2)(B), also called the

Absolute Priority Rule. Under the Plan, however, even though Class 4 claims are

not being paid in full, holders of Class 6 interests, which are comprised of

intercompany equity interests, are “Reinstated.” This violates the Absolute Priority

Rule.




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  Interestingly, the treatment provisions of Class 5 claims contain the following caveat at the end:
“provided, that no distributions shall be made on account of any such Intercompany Claims.” So
in essence, the treatment of Class 5 Claims is that the Debtors may choose to “Reinstate” them—
i.e., to “render[ them] unimpaired in accordance with section 1124 of the Bankruptcy Code” but
make no distributions on account of them. This circular definition draws into question whether
the Plan’s treatment of these claims has any rational interpretation.

                                               -14-
            Case 20-11177-KBO    Doc 520      Filed 08/21/20   Page 15 of 22




      30.    Moreover, the definition of “fair and equitable” under § 1129(b)(2)

“by it[s] terms, is not exclusive. Indeed a court may and should take additional

factors into consideration in determining whether a plan is fair and equitable with

respect to a dissenting class.” In re Johns-Manville Corp., 68 B.R. 618, 636

(Bankr. S.D.N.Y. 1986) (citations omitted), aff’d, 78 B.R. 407 (S.D.N.Y. 1987),

aff’d, 843 F.2d 636 (2nd Cir. 1988). The Plan in this case has been rushed to

confirmation in less than four months, providing for the treatment of claims

hinging upon a sale process the results of which were unknown as of the voting

deadline, and a creditor base that could be fixed by a claims bar date only two

weeks earlier. Given these onerous results, a fairer result to general unsecured

creditors might be conversion to cases under Chapter 7. Therefore, the IRP

Claimants request that confirmation of the Plan be denied, without prejudice to

modification to bring its terms within the requirements of cramdown.



      B.     Given the Complexity of the Definitions, the IRP Claimants Are
             Entitled to a Provision in the Proposed Confirmation Order Expressly
             Excluding Them from any Third-Party Releases and Injunctive
             Provisions.

      31.    As noted above, the IRP Claimants do not oppose confirmation of a

plan that provides for the purposes of, and complies with, § 1123 of the

Bankruptcy Code, but the Plan may not contain provisions that exceed the

authority set forth in the Bankruptcy Code.


                                       -15-
            Case 20-11177-KBO       Doc 520   Filed 08/21/20   Page 16 of 22




      32.       The Plan contains a number of release and exculpatory provisions,

which are largely based on defined terms, such as “Released Parties” and

“Releasing Parties,” which are then stacked with other defined terms, some of

which are especially broad or loosely defined.

      33.       One of these provisions, Article VIII(F) entitled “Releases by Holders

of Claims and Interests,” provides for the releases of claims by any “Releasing

Party” against “each Debtor and Released Party” (a redundancy, as the term

“Released Party” includes the Debtors). The IRP Claimants will not be returning a

ballot on the Plan or “opting in” to the releases in the Plan, so according to the IRP

Claimants’ best reading of the Plan, they are not bound by the releases in Art.

VIII(F). Given the complexity of the release provisions, the number of co-

defendants in the Generics MDL, and the amounts at stake in that litigation, it is

critical to the IRP Claimants that the claims in the MDL be undisturbed by

confirmation of the Plan.

      34.       Therefore, the IRP Claimants request that any confirmation order

entered by the Court contain an express provision excluding the IRP Claimants

from the definition of the “Releasing Parties” under the Plan and the effect of

Article VIII.

      35.       Similarly, presumably to give teeth to the foregoing release

provisions, the Plan also contains onerous injunctive relief against “all Entities that



                                          -16-
            Case 20-11177-KBO    Doc 520    Filed 08/21/20   Page 17 of 22




have held, hold, or may hold Claims or Interests that have been released pursuant

to the Plan or are subject to Exculpation pursuant to the Plan” from performing a

laundry list of acts similar in most respects to the provisions of the automatic stay

set forth in § 362(a) of the Bankruptcy Code. To complete the relief requested

above, the IRP Claimants also request that any confirmation order entered by the

Court contain an express provision excluding the IRP Claimants from such

injunctive provisions.



      C.     The Exculpation Provisions of the Plan Are Too Broad.

      36.    Another of the release provisions referenced above is set forth in Plan

Article VIII(G), entitled “Exculpation,” which provides in relevant part:

             Except as otherwise specifically provided in the Plan, no Exculpated
             Party shall have or incur, and each Exculpated Party is released and
             exculpated from any Cause of Action for any claim related to any
             act or omission in connection with, relating to, or arising out of, the
             Chapter 11 Cases, the formulation, preparation, dissemination,
             negotiation, or filing of the Restructuring Support Agreement and
             related prepetition transactions, the Disclosure Statement, the Plan,
             the DIP Loan Documents, the Sale Transaction, or any Restructuring
             Transaction, contract, instrument, release or other agreement or
             document (including providing any legal opinion requested by any
             Entity regarding any transaction, contract, instrument, document, or
             other agreement contemplated by the Plan or the reliance by any
             Released Party on the Plan or the Confirmation Order in lieu of such
             legal opinion) created or entered into in connection with the
             Restructuring Support Agreement, the DIP Loan Documents, the
             Disclosure Statement or the Plan, the Sale Transaction, the filing of
             the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
             Consummation, the administration and implementation of the Plan,


                                        -17-
            Case 20-11177-KBO     Doc 520   Filed 08/21/20   Page 18 of 22




             including the issuance of securities pursuant to the Plan, or the
             distribution of property under the Plan or any other related
             agreement, except for claims related to any act or omission that
             constitutes willful misconduct, actual fraud, or gross negligence, but
             in all respects such Entities shall be entitled to reasonably rely upon
             the advice of counsel with respect to their duties and responsibilities
             pursuant to the Plan.

      37.    “It is acceptable to provide exculpations for [plan proponents] for the

role they played in the bankruptcy process . . . .” In re Washington Mutual, Inc.,

442 B.R. 314, 348 (Bankr. D.Del. 2011). According to Judge Walrath’s

interpretation of the Third Circuit’s opinion in PWS Holding, an “exculpation

clause in plan which provided that committee members and estate professionals

had no liability to creditors or shareholders for their actions in the case except for

willful misconduct or gross negligence merely conformed to the standard

applicable to such fiduciaries” but is not a separate release. Id. (emphasis added)

(citing In re PWS Holding Corp., 228 F.3d 224, 246 (3rd Cir. 2000)). Judge

Walrath found that the exculpatory provisions in the plan in Washington Mutual

extended too broadly beyond that standard, both in connection with the scope of

the exculpation and the parties entitled to exculpatory protection.

      38.    The sheer breadth of the exculpation provisions of the Plan in the

instant case suggests that they may later be argued to create a blanket release of

any and all liabilities for anything that occurred after the Petition Date. This is

improper. The opinions in Washington Mutual and PWS Holding are clear that



                                        -18-
            Case 20-11177-KBO     Doc 520   Filed 08/21/20   Page 19 of 22




exculpatory provisions are supposed to create a standard for fiduciary conduct, not

create separate release provisions.

      39.    Although the foregoing analysis applies with equal force to all

creditors, the IRP Claimants’ primary interest is to protect the claims made against

Akorn in the Generics MDL. The generous exculpatory language in the Plan may

be interpreted to release any and all continuing actions or omissions by the

Debtors’ officers and agents, even those occurring after the Petition Date. As the

class of general unsecured claims would typically include only prepetition claims,

an overly broad exculpatory provision could create an end-run around the purpose

of the bankruptcy and a windfall to the Debtors’ agents and professionals whose

conduct gave rise to postpetition claims, not to mention references to unnamed

former agents, Committee members, and professionals as described below.

      40.     Moreover, the parties protected by the exculpation provisions in the

Plan exceed the permissible scope under Washington Mutual and PWS Holding:

             “Exculpated Party” means, collectively: (a) the Debtors; (b) the
             Committee and each of its members; and (c) with respect to each
             of the foregoing Entities in clauses (a) and (b), each Entity’s
             current and former subsidiaries, officers, directors, managers,
             principals, members, employees, agents, advisory board members,
             financial advisors, partners, attorneys, accountants, investment
             bankers, consultants, representatives, and other professionals, each
             in their respective capacities as such.

Plan, Art. I(A)(57). While the Court may find it appropriate to exculpate the

Debtors—which filed the Plan—and their officers and agents that assisted in


                                        -19-
            Case 20-11177-KBO     Doc 520   Filed 08/21/20   Page 20 of 22




that process, it would be improper to include many of the others, such as their

“former” officers and other insiders and professionals.

      41.    As noted above, the IRP Claimants’ primary interest is to protect the

claims made against Akorn in the Generics MDL and therefore request the

inclusion of language in any order confirming the Plan stating that the exculpation

provisions of the Plan do not apply to any of the claims and causes of action

asserted in the Generics MDL.



      D.     The Plan purports to keep the automatic stay intact without
             incorporating the provisions for relief from stay under § 362(d) of the
             Bankruptcy Code.

      42.    Under Plan Art. VIII(H), “notwithstanding anything to the contrary in

the Plan, the Plan Supplement, or the Confirmation Order, the automatic stay

pursuant to section 362 of the Bankruptcy Code shall remain in full force and

effect with respect to the Debtors until the closing of these Chapter 11 Cases.”

Similarly, under Plan Art. XII(I), “Unless otherwise provided in the Plan or in the

Confirmation Order, all injunctions or stays in effect in the Chapter 11 Cases

pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the

Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions

or stays contained in the Plan or the Confirmation Order) shall remain in full force

and effect until the Effective Date.”



                                        -20-
             Case 20-11177-KBO       Doc 520    Filed 08/21/20    Page 21 of 22




       43.    While it is not atypical for a Chapter 11 plan and/or an order

confirming a plan to provide for the continuation of the automatic stay after

confirmation, there should be a corresponding provision permitting parties to seek

relief from the stay in accordance with the provisions of § 362(d) of the

Bankruptcy Code.4



                                 RELIEF REQUESTED

       44.    For the reasons set forth herein, confirmation of the Plan in its current

form should be denied.

       45.    In the event that a new or modified plan are proposed to address the

§§ 1126 and 1129 issues described above, the IRP Claimants request that

confirmation be conditioned upon the addition of the following language:

              (i)    To be added to the definition of “Releasing Parties” in Plan
                     Art. I(A)(103): “; provided that none of the plaintiffs in the
                     Generics MDL[5], including but not limited to the IRP
                     Claimants[5], shall be deemed Releasing Parties except as
                     otherwise agreed in writing”;

              (ii)   To be added as a separate paragraph to Plan Art. XIII(F):
                     “Notwithstanding anything herein to the contrary, none of
                     the plaintiffs in the Generics MDL, including but not limited
                     to the IRP Claimants, shall be treated as Releasing Parties
                     except as otherwise agreed in writing, and none of the

4
  The IRP Claimants note that they, along with other MDL Plaintiffs, have filed a motion for
relief from the automatic stay (Docket No. 500).
5
  An appropriate definition should be included in the Definitions section of the plan for this
defined term.

                                            -21-
         Case 20-11177-KBO       Doc 520    Filed 08/21/20   Page 22 of 22




                   releases, discharges, injunctions, or exculpations shall apply
                   to the claims asserted in the Generics MDL”; and

           (iii)   To be added at the end of Plan Art. VIII(H) and Plan Art.
                   XII(I): “The provisions of 11 U.S.C. § 362(d) shall also
                   remain in effect.”


Dated: August 21, 2020                Respectfully submitted,
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                                       -22-
